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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA

                                            CRIMINAL MINUTES - GENERAL
                                                                                                                     Page 1 of 1
               CR 14-338-DMG
Case No.                                                                                    Date       October 14, 2021
               CV 21-4012-DMG 

Present: The Honorable         DOLLY M. GEE, UNITED STATES DISTRICT JUDGE
Interpreter      N/A
                Kane Tien                              Not Reported                                   Not Present
                Deputy Clerk                           Court Reporter                         Assistant U.S. Attorney

U.S.A. v. Defendant(s):                      Present    Cust.   Bond    Attorneys for Defendant(s):      Present    Appt.   Ret.
(57) Tony Gordon                               Not                      N/A                               Not


              Proceedings: [IN CHAMBERS] ORDER TO SHOW CAUSE RE DEFENDANT’S SECTION
                           2255 MOTION [1]

                     On May 10, 2021, Defendant Tony Gordon filed a motion to vacate, set aside, or correct
              sentence pursuant to 28 U.S.C. § 2255. [CR Doc.# 4234; CV Doc. # 1.] The Court granted the
              Government’s ex parte application to extend time, to October 8, 2021, to file its opposition. [CR
              Doc. ## 4278, 4280; CV Doc. ## 9, 11.] To date, no opposition has been filed.

                    The Government is ORDERED TO SHOW CAUSE by no later than October 29, 2021
              why Defendant’s motion should not be granted in light of the Government’s lack of opposition.

                       IT IS SO ORDERED.




               CR-11                          CRIMINAL MINUTES - GENERAL                       Initials of Deputy Clerk KT
